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1 UNITED STATES DISTRICT COURT

2 EASTERN DISTRICT OF LOUISIANA

KKK KEK KIER EEE EEE EK KEKE KR KEKE EK KEK EEE KEE EEKSE

IN RE: FEMA TRAILER
5 | FORMALDEHYDE PRODUCTS
LIABILITY LITIGATION

6 DOCKET MDL NO. 1873 "N"
NEW ORLEANS, LOUISIANA
7 FRIDAY, MAY 13, 2011
8 8:30 A.M.
9
RO TR EER RRR RRR RRR RR RR KR EI
10
ii COMMITTEES' STATUS CONFERENCE
12 TRANSCRIPT OF PROCEEDINGS
13 HEARD BEFORE THE HONORABLE KURT D. ENGELHARDT
14 UNITED STATES DISTRICT JUDGE
15
16
17

18 SUSAN A. ZIELIE, RPR, FCRR
OFFICIAL COURT REPORTER

19 UNITED STATES DIST COURT
EASTERN DIST OF LOUISIANA

20 500 POYDRAS STREET

ROOM HB-406

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24 PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY.
TRANSCRIPT PRODUCED BY COMPUTER-AIDED TRANSCRIPTION.
25

EXHIBIT

1c

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APPEARANCES:

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FOR THE PLAINTIFFS'
STEERING COMMITTEE:

FOR THE DEFENDANTS:

FOR THE UNITED STATES
AMERICA:

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NEW ORLEANS, LOUISIANA; FRIDAY, MAY 13, 2011
8:30 A.M.

THE COURT: If you haven't signed in yet --
if you haven't signed in, make sure you sign in before
you leave the room here today.

And also, for the sake of or record here,
unless you're -- well, identify yourself the first
couple of times you speak here so that we can make
certain that we know who is talking for purposes the
record.

I did get the joint reports, and went
through it. Justin and Gerry do, either one of you all
want to highlight anything on here? And then I'll ask
Andy and Joe and then of course David, Karen and then
Henry. Anything that we need to talk about from your
point of view on the report? It seems pretty
straightforward to me, and it follows the form that
we've been following.

MR. WOODS: It's all pretty straightforward.
I think the most important information for the larger
group, from our protective, is under Section IV, the
manufacturing house litigation track and where we are on
the proposed settlement and the notice and the deadlines
and the fairness hearing that is scheduled for August

22nd. Everyone's received notice, we're in that

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1 process. But that would be important we generate --

2 that that fairness hearing is coming up and that there

3 are certain deadlines associated with that.

4 THE COURT: Okay.

5 MR. MEUNIER: And then, Your Honor, the next
6 section should probably be mentioned in open court, the
7 fact that motions to dismiss are being filed for

8 unmatched plaintiffs. I think one of the things we

9 discussed in chambers was the fact that, when a

10 defendant seeks to bring a motion to dismiss for a

11 matched plaintiff, there would first be a contact made
12 with the plaintiff's counsel. So that, in some cases,
13 those may be unopposed. It may be a plaintiff who has
14 dropped out or lost touch with, and only notice for a

15] hearing if there's some reason the plaintiff can make an
16 argument to you they should not be dismissed.

17 So the plaintiff lawyers need to be tuned in
18 to how we're going to approach these dismissals that are
19 now going to be filed and be prepared it tell the
20 defendants whether its unopposed or whether they have a
21 reason to come to court on.
22 THE COURT: Okay. Let me go back to the
23 pending motions here on Section III. We have denied the
24 first one listed.

25 By way of an update here, the 14480 was

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1 denied in document No. 20.784.

2 On the next page, page 3, document 19570 was

3 granted in Docket No. 20914.

4 And the one right below it, 19571, was

5 granted in 20916. So those two can come off.

6 And remind me at the end, for those of you
7 -- I think Dennis, you're involved in the motions to

8 enjoin, which would be 17661 -- the ones involving the

9 Indiana cases, at the conclusion of our big status

10 conference, I'd like to talk to you all, including those
11 who aren't here but hopefully will be here for the big
12 conference, I'd like to talk to you all briefly about

13 the status of those. I think there's two motions. One
14 is the 17661, which is the third motion listed on this
15 draft, and it also appears, the issue has also been

16 raised in 20861m which appears on page 4. Those are the
17 Elkhart, Indiana motions.

18 Because we're after the May Ist date that I
19 had dealt with the state court judge on, and I'll tell
20 you what's going on in my end. I'm hoping to hear more
21 about what's going on on your end.
22 MR. MEUNIER: Judge, in Section X on
23 Miscellaneous, subparagraphs B and C, I'm reporting to
24 you that there have been settlement discussions with Dan

25 Balhoff with Sunnybrook and Sun Valley. The insurers in

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1 both of those cases are the same as involved in the

2 state court, so it does link to the efforts we're making

3 here.

4 THE COURT: I was hoping that would be the

5 case, but we can just talk briefly after the big

6 meeting.

7 Anything else, Jerry and Justin, that you

8 all would like to highlight off of the report?

9 MR. MEUNIER: On bellwether trials, Judge,
10 Section VI, I haven't had a chance to talk to Jimmy yet
11 about what if anything needs to be said in open court
12 about KZ RV. There was a submitted motion to dismiss.
13 I think Charley Penot was going to be preparing a
14 revision of that to preserve plaintiff's claim as to
15 Fluor. But he'd indicated that perhaps, since it was
16 previously announced that there was a trial, we ought to
17 say something in the larger session about the fact that

18 that trial has been bumped.

19 THE COURT: Right.
20 MR. MEUNIER: Pursuant to settlement.
21 MR. WEINSTOCK: Can I suggest to Jerry and

22 Jimmy come up to the bench and talk to you about it
23 briefly?
24 THE COURT: That's fine. My purpose in

25 raising it is that we announced at the last conference

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the scheduled bellwethers including one that was to
start on Monday. So whatever you want to tell the group
as to the circumstances of that case and the status of
it is fine. I don't want to cover it myself, but maybe
Jerry when you --

MR. MEUNIER: There's an order in the record
now saying it's dismissed. You know, there's a public
pleading on it. But what if anything in addition we
want to say or need to say, I'll check with Jimmy and
come up with something.

THE COURT: Right. Tf you want to just
limit it to what's set forth in the order, you know, it
begs a lot of questions that I know you all either
aren't prepared to answer today or don't wish to answer
today. And all of that's fine with me, so long as the
group out there who is not familiar and maybe who's been
depending on the national flow of information maybe
hasn't checked the record or maybe hasn't received that
order or looked at that order, I would like some note to
be made that that is no longer listed as a bellwether
and is not going to begin on Monday morning.

MR. MEUNIER: Right.

THE COURT: All right. Anything else that
you all would highlight here in this committee, other

than -- the committee meeting as opposed to the big one?

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MR. WOODS: There is, just in Section IX,
the last sentence, I would like to edit that and delete
it. It's on page 9 right before Section X, the
claimants have until Friday, April 8th to file
objections. Since that has passed, I'd like to take
that out.

THE COURT: All right. Go ahead.

MR. MEUNIER: If you're finished with that,
just getting back to Section X.B and C, I think the most
appropriate thing to say is that the discussions have
taken place and will be continuing.

THE COURT: Right.

MR. MEUNIER: We remain hopeful, but we're
not there yet.

THE COURT: I'm fine with that. Something
that's very nonspecific at this point.

MR. MEUNIER: Section II of the report is
the PSF issue, which we've just had a lot of discussion
about. Perhaps the larger group needs to be advised
that what we're going to presumably say in open court
about next Friday's deadline.

THE COURT: Let me come back to that ina
minute. Because I want to, right now, let's just stick
to what the joint report says.

Andy, is there anything that you're going

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highlight off of here that you'd like to raise here that
goes above and beyond what you've just intended to
report over there?

MR. WEINSTOCK: Not highlight but correct.
If you go to Section VI.A(1), the Coachman trial was
moved to June 13th from June 20th based on Judge Roby's
schedule.

THE COURT: Right.

MR. MEUNIER: I'm sorry, what date?

MR. WEINSTOCK: June 13th.

THE COURT: Okay.

MR. WEINSTOCK: That's it.

THE COURT: All right. David, anything that
you think we need to cover off of this here?

MR. KURTZ: No.

THE COURT: Then let's go back to the issue
that Jerry was about to talk about, and it's one that we
spent some time, a good degree of time this morning on,
about next Friday and the idea of fact sheet
information.

MR. MEUNIER: My understanding, Judge -- and
the Court will correct me, I'm sure Andy will if I'm
wrong on this -- is that by next Friday the defendant
manufacturers and contractors will identify for the

Court which fields of the plaintiff profile form or fact

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sheet are needed for settlement development purposes
without prejudice to their right to pursue the remainder
of the information through the deficiency process at a
later time. It's understood that, in so limiting the
focus to those items now, they do so without prejudice.
And, also, that they are entitled to submit one
deficiency letter at this time that would cover all
deficiencies, albeit only receiving now the designated
areas.

And then, by next Friday, we will advise the
Court, given the position taken, of what time the
plaintiffs need collectively to respond to the
designated deficiencies.

MR. WEINSTOCK: Close but not entirely
accurate.

My understanding, that we would come
together before next Friday and see what we can agree on
and submit to the Court what we could agree on,
plaintiffs and defendants. And, if there was anything
else we wanted that we could not agree on, we would let
the Court know that as well.

THE COURT: I'm counting on it being the
former rather than the latter.

MR. MEUNIER: I'm assuming that we will be

in discussion. But, if we can't agree, then I think on

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Friday nonetheless there's going to be a report to the
Court on what the defendants think they need. You will
know how much of that is agreeable or not with us.

THE COURT: Let me back up, and I hope I
don't muddle the issue further, In an effort to try to
clarify it. The idea is that -- since all of you are
were not in the room, I'll try to recap why we're doing
this and the purpose of this.

The idea is to, on the one hand, afford the
defendants the opportunity to send out a single
deficiency notice, and not later deficiency notices, but
a single deficiency notice with regard to the plaintiff
fact sheets. And be entitled to have all fields on that
deficiency notice that can be satisfied ultimately
satisfied.

In the meantime, it's to facilitate -- in
order to facilitate a settlement discussion, hopefully
on an in-globo basis on the basis of manufactures and
hopefully third-party contractors, a flow of information
back from the plaintiffs that relate and can be useful
for purposes of settlement discussions and getting that
information back in short order. As opposed to having
plaintiff's counsel have to take a deficiency notice,
resolve the deficiency notice in its entirety, including

information that would be unique to that particular

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plaintiff. And, in the meantime, not having the ability
to discuss settlement because the deficiency notice
would still be outstanding and the workload in
satisfying the deficiency notice would drag down the
process of or the hope of having any type of settlement
discussion in the MDL.

So the idea is, by next Friday, to have an
agreement between manufacturing defendants and
third-party defendants, that certain of the fields on
the plaintiff fact sheet, certain of the tidbits of
information are more useful for a settlement discussion
than others. Other pieces of information are useful if
you were to litigate that plaintiff's claim, you would
want it know and would be entitled to know all of that
information on the fact sheet, and perhaps even more
information through other discovery. So what we're
trying to do is to concentrate in short order on the
fields of information, hopefully fewer rather than more,
that your clients, carriers, whoever is involved on the
defendant's side, need to know in order to be able to
respond to a settlement offer from the plaintiffs.

So you'tre going to send a single deficiency
notice, plaintiffs counsel, with a pre-agreed upon set
of fields that would be useful for settlement will

respond with those fields. Without prejudice to your

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right to have the entirety of the fact sheet deficiency
notice responded to, plaintiffs would respond with a
smaller set of information that we will know by Friday
what that is. And then they will also tell us how long,
hopefully a short period of time they need, to get those
critical pieces of information back to defense counsel.

And I've told you the reason for it, and
I've told you how I think it's going to work. Now,
we'll try to memorialize that I'm hoping by Friday maybe
if someone can put pen to paper on this procedure. It
doesn't have to be an order that we enter into the
record, but it has to be something in light of the
confusion that we've had last time. If you want to put
it as an order in the record, I can do that. I don't
want to put an order on top of an order on top of an
order and have everybody say: Well, now we're really
confused.

But the idea is to get -- the two things
that defendants have said, I've heard repeatedly as to
why they think the case can't be settled in the MDL is:
A, we don't know who all the plaintiffs are because
claims are still coming in. And God knows we've tried
to resolve that any number of times. And, B, we don't
have enough information to evaluate these claims because

we've got fact sheets that sometimes are meaningless and

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other times have such scant information as to be
meaningless. So we're trying to satisfy those two
problems, along with the plaintiff's problem that they
can't work up every single plaintiff's claim to the nth
degree as though it was ready for trial in order to
satisfy or to support a settlement demand.

At the MDL level, we're either going to
settle the case on a more global term, and I'm speaking
by manufacturer or by third-party contractor, as opposed
to claim by claim. If we're going to settle them claim
by claim, that will probably be done after the cases are
remanded.

And I've said before and I'il say again, I
Said as early as this morning, if that's the way we're
going to go, then I can start remanding case. I'm
hoping not to do that, and I hope that the prevailing
sentiment here is to not do that. Rather, to continue
to try to work on the cases here and get them resolved
to our client's satisfaction. Rather than have them as
individual pieces of litigation spread out over three or
four states, in various state and federal courts.

Does anybody have any questions, or maybe I
should start with Gerry and Andy and David and ask if I
have said something wrong or if I've left something out?

MR. MEUNIER: Judge, I think that's

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consistent with my understanding.

So, just on the timetable, if Andy can
report by the beginning of next week on what the fields
are needed for settlement, then hopefully by the middle
of the week we can forward a report to him on what time
we need. I'li need to poll the group -- as you know,
there are different positions in the group -- all with a
view toward Friday. If you don't want an order, at
least report to you on the fields and the time needed
and to the extent there might still be a difference in
our positions.

THE COURT: Right. That's fine. And, if
necessary, we can have a telephone conference on
Thursday afternoon or some time Friday to discuss
whatever discrepancies there are.

Let me caution the defendants, if you say,
look, my client needs -- we did the fact sheet and I
need 80 percent of the questions answered, its probably
not going to work. All right? You need to be
conservative in your need for information. They know
they're going to ultimately have to give you, if the
case doesn't settle, they're going to have to give you a
completed fact sheet. To the extent that it can
possibly be known, the information's going to have to be

on a completed fact sheet. So you're not going to be

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viewed as foregoing your right of any information by
limiting the number of things you need to know in short
order.

I think the imperative on the defense side
is: But I want know that and I need to know that. IT
understand that. But what we're talking about here is
what you need to know in order to participate ina
global settlement discussion. If it's five things, tell
them the five. Andy's going to meet with you all, come
up with the five. If it's a dozen things, tell them
what dozen. It may be different. Gulf Stream's people
and the people that Andy's dealing which may say: Well,
we only need these nine items. You may have someone
else that says: I need 18 items.

Let's see if you can come to an
understanding of what are the most critical pieces of
information that you need to participate in a settlement
discuss in this MDL without any in way foregoing your
rights to all of the rest of the information at a later
date. So please be conservative on that.

If you undercut the effort by telling us
that you need 80 percent or 90 percent of the fact sheet
filled out, then plaintiffs -- and, on the plaintiff's
side, it's in their interest, when they follow-up with

individual clients, to get the entirety of the

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information in your deficiency notice. If they can do
that, I'm sure they'll be happy to give it to you.
Because they may have to do it anyway. So there's an
incentive on both sides to try to make this thing work
in the short term; to forego the efforts on the long
term.

If it doesn't work, well then, guess what,
they're going to have to go back and get all this
information again. You're going to have to go back, and
you would have already sent your deficiency notice, but
you're going to get the balance of the information, to
the extent they can provide it. Unless you are a
Section Eastern District case, you're going to be
dealing in other court, or at least in front of another
judge. I'm hoping to be able to save you all and the
other judges the effort of having to go through and pick
up every strand of information on each plaintiff's fact
sheet. That's the purpose of the exercise.

So please don't undercut the purpose of the
exercise by saying: Oh, I stili need all but these
three. I need every piece of information except these
three questions, because we're going to be back at
ground zero again.

MR. MEUNIER: There's an ancillary issue

that deals with individual plaintiff discovery. Tony

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has shown these requests that he's gotten from one of
the defendants from his clients.

MR. BUZBEE: We're getting these notice of
record depositions, subpoena duces tecums, to all of the
medical providers by a bankrupt defendant. It seems, to
me, it sounds like that it's outrageous in my mind.

That, if you have a bankrupt defendant, who's lawyer is
for thousands of clients, multiple medical providers, is

sending these subpoena duces tecums. And we spent all
this time and effort, even if it's 16 fields or two or
whatever it is, and they're going to have no insurance
left because of this kind of conduct, to me, is
outrageous. I wanted to bring it to your attention.
Hopefully, you would admonish and put an end to that
kind of silliness.

THE COURT: Haven't named any names. Does
anybody want to raise hands?

MR. BUZBEE: This is a bankrupt defendant.
Lobman Carnahan. I don't know who that is, but that's
who is sending them out.

THE COURT: I mean, I don't have anybody
from Lobman here, I don't think.

MR. BUZBEE: Can't we all agree, that's
outrageous?

THE COURT: You've got a lot of enthusiasm

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from here on that point. But, quite frankly, if that's
an eroding policy --

MR. BUZBEE: I know the settlements that
we've had, by the time you got to the point that you
could settle, no money was left. That doesn't seem to
be in the best interest of the clients that are in this
MDL. And I know you're operating in the best interest
of the defendants.

MR. MEUNIER: I can't speak for Gulf Stream,
but I know you're worried about these clients and the
best interests.

MR. BUZBEE: I don't know who these folks
are, but I'm getting hundreds of these a day.

MR. WEINSTOCK: But you're getting paper.

THE COURT: But they're billing to send
these out, that's his point.

MR. GEIGER: That was a wasting policy.

MR. MEUNIER: I wanted to try to relate it
to the concept we're talking about. Which is, when
we're talking about the PSF process, you have the
completing concerns. On the one end, you have the
defendants saying: We need all this information. On
the plaintiff's position, we're saying: The focus ought
to be on common issues and settlement. Not, we can get

to that later. This relates to that, in my view,

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because it's an effort of one of the defendant insurance
companies. It happens to be more egregious because it's
for a bankrupt manufacturer, but it could be for a
non-bankrupt manufacturer, to start propounding --

THE COURT: Crum & Forster is Pilgrim?

MR. BUZBEE: We didn't bring a direct action
against the insurer.

MR. PENOT: Well, there have been a number.
I've seen a number of the direct actions.

THE COURT: Wait. First of all, nobody's
doing what I suggested, such as stating your name. So
we're going to have attorney 1 and 2 and attorney 15 and
attorney 16. Okay?

The other thing is, even if you were stating
your name at the same time, you're all doing it at the
same time. So she's not going to be --

MR. WEINSTOCK: Weinstock says they must be
a correct defendant or they'd have no caption to file a
subpoena under. They couldn't just intervene, they
haven't intervened to file subpoenas.

MR. BUZBEE: On behalf my clients, I have
not filed against insurers, and these are my clients.

And you say: Well, all you are getting is
paper. No, I'm not. I'm getting these electronically

and these are being printed out. So, in that respect,

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it's costing these clients money, if we want to be
technical about that.

MR. WEINSTOCK: Weinstock says don't print
them out.

THE COURT: Why don't we do this. Why don't
we -- Andy, can you find out --

MR. WEINSTOCK: I know who the lawyer is. I
will talk to him.

THE COURT: Can you find out what it is what
the circumstance is with regard to this policy, first of
all. And let me know, as well as liaison counsel, on
all sides, let us know?

MR. WEINSTOCK: Yes, sir.

THE COURT: Because, I agree, that this is
the type of particularized specific plaintiff discovery
that, unless there is a bellwether involving one of
these people, it certainly goes beyond what has been the
coordinated discovery plan up to this point.

MR. BECNEL: Judge, Becnel says it's called
billable hours. And I want that on the record.

MR. MEUNIER: We don't need to necessarily,
in the big session, address that. I just brought it up
because it seems relevant to what we were talking in the
BSF. Maybe Andy can get the message to counsel that

that's not what we're up to right now.

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THE COURT: I agree. I agree. And, if we
need to have a status conference with this particular
defendant to discuss this and the dynamics of the MDL
and what impact this has, I'll do that. If you can find
out what the status of the policy is and report back,
and also any content of your conversation that you can
report back regarding their intent to pursue these.
Because it's, at this point in time, as I say said a few
minutes ago, the focus is on how the MDL can be resolved
at this point.

I think I told you all last time, I'm not
going to set up a whole another board of bellwether
trials. We can bellwether trial cases until the cows
come home, but we get to the point of diminishing
returns. And, unless there is an a manufacturer that
has a particular legitimate issue that they believe
their case is unique, or a carrier issue, that's fair
game, I can't see just sitting here and setting up
bellwether after bellwether after bellwether.

The purpose of the MDL is to establish
enough common rulings and enough bellwethers to have
some empirical data to discuss a resolution of the
claims. In lieu of that, to start remanding cases.

Now, if they want that information after

cases are remanded, then that's fine. I think it's

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appropriate. It certainly is a regular run-of-the-mill
discovery. But at this point in time, given where we
are in this MDL, it would seem to me -- and I haven't
heard from the attorney who sent those out -- but it
would seem to me to be either unhelpful to the effort
right now or contrary to the effort right now.

So see if you can find out from the attorney
what the circumstances are.

MR. GIEGER: Judge, Geiger. I've discussed
this with Andy, and I've read the whole committee, and
you discussed relative to this issue. But I do have to
raise a concern that I have about, Mikal's original plan
was to set up some dates where we were going to stop a
lot of this action and move toward accumulating
information for a spreadsheet that we all know is geared
toward seeing whether or not we can resolve these
claims. One of my concerns is, I probably have the
second largest number of trailers, and my deficiencies
letters are all out. They have been since the first
week of April.

My second set of deficiency letters, which
are letters that go out to people who have no fact
sheets -- I've got about 67,000 trailers -- I'm sorry,
named manufacturers. I've got around 2,500 to 3,000 of

those plaintiffs that have no fact sheets at all.

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My concern is that that group of people, if

we start -- because there's been discussion about moving
the time period along to give answers -- is that if I'm
going to wait a longer period of time -- my time under

the orders are almost up, and it would be time for me to
come to you and say, hey, there are 3,000 plaintiff's
claims that should be dismissed. If I'm going to get an
extension for these people on their efforts to get me
fact sheets, and I get back the kind of answers I'm now
getting back on my first -- and I sent about a thousand
of them out and I'm getting answers back on fact sheets
that are saying attempting to contact client -- I'm not
saying that's by the people in this room, because
generally it's not. But I will tell you, Judge, there
are lot of people outside of the people in this room;
right? And I now there's some difficulty. And I just
want to raise that for the Court. If Mikal's deadlines
are going to stay in place, and it relates to me, if
you've got start extending it out another -- I've got a
motion that's pending before the Court that's asking for
an additional 45 or 120 days for a ruling from the Court
for those extensions, that's a problem. If we're going
to start talking about getting a matrix together and
we're going to get the fact sheets from half of the

plaintiffs against my clients that aren't in yet, I see

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a problem if we start extending these deadlines very
far.

MR. WATTS: Mikal Watts. We agree with
Ernie, and nobody on this side wants to extend the June
30 deadline.

I think the point that was being made this
morning is that, if we're going to be forced to comply
with deficiency notices about fourth grade teachers as
opposed to 16 key data points, we can't get it done in
term, or certain of us can't get it done in time, and
that's why we cam forward. But nobody wants to extend
the June 30 deadline. And nobody, depending upon how
many more needs Andy's group comes up with, wants to
extend the 30 day timeline more than necesSary. We want
to get it done so we can have our spreadsheet and get to
the settlement discussions.

MR. GEIGER: I hear it, but there are claims
with no deficiencies. And the kinds of responses I'm
getting back -- I just have an inkling feeling that, of
the 3,000 that are not going to have the 16 fields or
the 20, and I'm going to be coming back and writing more
deficiency letters saying --

MR. WATTS: IT think, they way it's designed,
once we get to June 30 and then the deadline to fix them

-- right now, it's July 30, maybe it goes to July,

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August 30 -- once that's done, everybody's under order
to deliver to me the best you got. And then I ship them
off to India and that is in frozen time. And then you
guys can start dismissing right and left people who have
failed to comply with the order.

MR. WEINSTOCK: This may sound strong; but,
for those people who have never filled out a fact sheet,
the way the order's written, it's technically
deficiencies. But it's its way beyond that. We're
three years into the game and if they've never produced
a fact sheet they should not get additional time.

THE COURT: We have said at every
conference -- and this is sort of like the matching
business which hasn't come up today. We've gotten into
this far with one of these things without using the word
matching, but it’s sort of like matching. It's
fundamental that the fact sheet, which was worked on by
counsel, it was an effort that was a joint effort to try
to come up with a fact sheet that everyone thought was
useful. And I have said in the big conference, and f
know you all have said in your groups, that the fact
sheet is really the threshold piece of paper that every
plaintiff, when you sign up a plaintiff, you need a fact
sheet. And we've put a device, a time delay, that the

fact sheet needed to be forthcoming within so many days

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after the action was filed, plaintiff had officially
filed their action.

And, I agree with you, we're now, in my
mind, we're well past the stage of getting a fact sheet.
And, quite honestly, we should be past this stage of
deficiencies. But we're not. We're still working on
the deficiencies along the lines that we talked about
this morning that I've mentioned here today.

But, if you haven't done a fact sheet at
all, if no one has even seen a fact sheet, I'm ready to
dismiss those.

MR. WATTS: I think the process that we set
up, to get back to Ernie, if you have somebody that
hasn't delivered a fact sheet, they have been sending
deficiency notices with that.

But, with all due respect and in fairness to
Ernie, if the deadline for that deficiency notice comes
and goes and you still don't have a fact sheet, I don't
think anybody on this side is saying we get another shot
at it. It at that point in time -- in other words, it's
not good enough that they just start filing motions to
dismiss for failure to do a fact sheet if they haven't
sent a deficiency notice. Because that's what tell us
that's you're deficient, fix it.

THE COURT: We're going to stick with the

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framework we've got now.

MR. GEIGER: I understand, Your Honor, too,
that of those almost 3,000 people have given me no fact
sheet, start giving them to the middle of June --
right -- which is when their time period is up, all of
the sudden I'm now writing another deficiency letter to
them saying of the 16 or 20 categories here, we're
deficient. And I'm going to be bumping --

THE COURT: Haven't you already sent a
deficiency notice saying: I don't have a fact sheet at
all so therefore it's deficient because to my knowledge
it doesn't exist?

MR. GEIGER: Right. But what happens, when
I start getting 16 of them, that two or three are filled
in.

THE COURT: If they're not compliant, then
they're not complaint.

MR. WATTS: I think everybody, once we get
this list of 16, hopefully is not going to be more than
20, there's an expectation that you're going to get that
filled out for everybody.

I told the judge that one of those 16 fields
is the plaintiff's trailer's VIN number. T'm not going
to be able to fill that out, people don't remember it.

I don't know the VIN number on my car right now, much

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less something I owned five years ago.

If it's something like your name or other
information that ought to be known that's not being
filled out, that's where you go for a motion to dismiss
for failing to comply with the orders.

But I think the key is, and what we ought to
make everybody clear in the room, is we have a process
where everybody sent out deficiencies notices. It's
terrible, for everybody; okay? And, in order to keep
our timeframe that the judge wants from the standpoint
of settlement discussions, the defendants are limited to
the 16 or the two or three or four that they've got to
have, they've got to pick their poison by next Friday.
You know, you've got to fill out those 16 to 19 fields.
If you don't, you're in trouble.

As to the others, you don't have it fill
them out right now, but you're going to have to
eventually if there's not a settlement. It's without
prejudice.

But the point is, when you get a deficiency
notice and your 30 days has lapsed, or you don't get an
extension -- Andy's been nice to give us an extension
beyond the original deal or whatever. But, once that
time periods ends, they need to understand that all bets

are off, once those things go to India.

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And I don't think it's incumbent on you to
give them a second deficiency notice. Ah-ha, a few
months ago, I told you to fill out 1 through 17, and now
I've got to send out a second deficiency notice because

you didn't fill out 8, 19. I don't think you have to do

that.

MR. MEUNIER: I think there's one deficiency
letter. I don't know were Ernie would refer to the
first letter as a deficiency letter. If you don't have

a fact sheet at all, it's not a deficiency.

MR. WEINSTOCK: yes, it is.

THE COURT: Yes it is.

MR. GEIGER: Trust me, that's why I did it.

THE COURT: It's one letter. If they get a
fact sheet, and it has deficiency in it, the deficiency
letters says: Look, we've got your fact sheet, here's
what's wrong with it. If they don't get a fact sheet at
all, then the deficiency is there's no fact sheet. He
doesn't have to go back and do a two-step deal. Because
then the incentive side is I should lay in the gap
because then I get two shots to fix it.

MR. WATTS: There's no need for a second
deficiency letter, as the judge has pointed out, and we

agree.

THE COURT: Send one letter that says:

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Look, the deficiency is I don't have a fact sheet; I
want it and I want it filled out in a full and
non-deficient way.

If you don't get that, then at that point
the order applies and can be dismissed.

But if you don't submit a fact sheet at all,
you don't get the benefit of getting two letters, as
opposed to the poor guy who tried to send one and said:
Well now I've got to go back and talk to my client
again. That person gets the benefit of fixing only the
items that are missing. Other person's got to do the
fact sheet that they should have done way back when.

MR. MEUNIER: We need to certainly make this
clear in open court. Because, if there are that many
people who have no fact sheet whatsoever, they need to
understand how this current system is going to work for
them.

THE COURT: And they should have -- we said
many times you need to do the fact sheet within so many
days after the action was filed. That's in one or more
of the pretrial orders.

MR. WATTS: 60 days out.

THE COURT: Amanda can give me the number of
the orders. They are in the record. The fact sheets

should have been done within the time delay specified in

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the orders.

Now, if they're deficient or not should be
the second question. Not the first. Because they said,
well, we didn't get them. If you didn't get a fact
sheet to begin with, then you didn't comply with the
pretrial order that said you had to have a fact sheet to
begin with.

MR. WOODS: Justin Woods. If someone has
not sent in a fact sheet at all, and Ernie sends them a
deficiency letter saying I don't have a fact sheet from
you. But, when we get to this point of identifying
these 20 data fields, is it that there will be in
compliance if they respond to those 20 at that point and
they will not be subject to dismissal?

THE COURT: That's the agreement we have
based upon the idea, what I just stated here on the
record, that we would like to see if we can resolve
certain claims against certain of the manufactures
in-globo or otherwise here. So the response that's
expected from the plaintiffs at this time will be the
fields that are designated. All right?

But the deficiency that is sent will be the
one and only deficiency that that person will get. So
it will be incumbent upon them to satisfy the fields

that we agree upon in the short term. So they will be

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required to do at least that.

Later on, if we can't resolve it and the
cases are sent back to where they came from, or if it's
one of my cases that would have been one of my cases
anyway, you can move to dismiss for failing to satisfy.

But, right now, we're concentrating on the
fields that are agreed upon only because we're not
having bellwethers beyond those that are scheduled -- at
least I'm not planning it at this juncture -- and we
want to see if we can resolve as many claims as possible
in the MDL.

So, yeah, the expected response now is to
the designated fields. All right? That right now is
sufficient to cure the deficiency for now.

MR. WATTS: The other thing, for my brothern
on the plaintiff's side, we sent out 31,000 letters last
week saying this is coming down, if we send you a
deficiency notice you must help, you must get it fixed
with us or you are subject to dismissal. And I think
probably everybody ought to ship out a letter like to
that their client to cover their backside.

Because, I'll be honest with you, I've got
over a thousand people that I don't have facts sheets
for, and I told you that from the start. And I know

they're going, and this process is getting it down

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quickly. But the people that don't get there are going
to get dismissed. So everybody needs to cover their
back.

MR. MILLER: If a plaintiff gives a fact
sheet and they only give us eight of 16 or whatever the
fields are, are they then subject to dismissal with
prejudice?

MR. WOODS: They may not have a VIN number,
like Mikal Watts.

MR. MILLER: I understand they may not have
the information or the ability; but, if they only
complete a subset of the selected key factors, what is
the effect?

MR. WATTS: I think it depends on which
ones, to be honest with you, of the 16. Because some of
them are things you ought to know. You ought to know
your name, this kind of stuff. But others, VIN numbers,
FEMA ID numbers, we're going to have a case-by-case
debate about whether we can possibly know that.

THE COURT: I think I question is answerable
once we decide whether there's sufficient information to
have a meaningful settlement discussion between
manufacturer and defendant and the plaintiffs.

If it's the type of information that the

plaintiff can be included and counted numerically as a

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participant in a settlement, then maybe it's no harm/no
foul. But if it's the type of information where a
defendant says: Well, we can't include this person
because we don't know this critical piece of
information, I may agree with you, then I may agree with
the defendant, in which case then the defendant later
can go ahead and file a motion to dismiss. There was no
global settlement, that person didn't write enough
information, they didn't satisfy the deficiency notice,
you know, they're out.

MR. MEUNIER: Your Honor, I do think at some
point after these discussions that place next week,
we're probably going to need an order that identifies
the vehicles, for the reason you just mentioned. I
think, going forward, plaintiff is going to have to
understand the sacred fields you want and ones they just
can fudge on. So whatever these discussions are,
hopefully.we'll agree on a language in some sort of
order.

THE COURT: I suggest that you all talk
early next week, come to some agreement on it. If you
can't come to some agreement on it, we'll work with you
on Wednesday, Thursday, Friday on those that you can't
agree on.

MR. MEUNIER: I just don't want a plaintiff

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letter saying: Oh, I didn't know that one was the
important one and I didn't get that from my client.

THE COURT: Whatever ones we agree on, they
are all going to be important. Some of them, like you
say -- if it's a VIN number, then it may be undisputed
that the person lived in a, for instance, a Gulf Stream
unit, in which case Gulf Stream may not contest: Well,
you didn't give me a VIN number so I can't have that
person numerically counted in any type of settlement
discussion. If it's undisputed that that person lived
in a Gulf Stream unit, we just don't have the VIN
number, then it's neither here nor there.

But if there are other certain pieces of
critical of information that would be in that field, and
the defendant deems that insufficient to count them as
part of the settlement, then they won't be included.

It's going take some work on, first of all,
on the defendant's side to come up with a meaningful and
scaled-down set of critical factors that need to be
known for an'in-globo evaluation, and then trading that
information with plaintiff's counsel such that it can be
gathered in an efficient fashion.

MR. MEUNIER: All right. I think we have
it.

THE COURT: Anything else?

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MR. MEUNIER: Thank you, Judge.

THE COURT: Is there anything else we need
to talk about here in this group before we go into the
bigger conference?

MR. WEINSTOCK: The next conference.

MR. WOODS: Next conference date.

THE COURT: That may be a bit of a problem,
because I'm going to be in trial for most of the summer.

MR. WOODS: According to the news, that's an
iffy question.

MR. WEINSTOCK: That was Woods, not
Weinstock.

THE COURT: There will be some days off that
it won't be a five-day work week every week.

What about July 8th or 15th? I hate to wait
that long, but we'll be in communication with you all
during that time in smaller groups. I'm talking about
the big conferences. Either the 8th or the 15th of
July, does that create problem for anybody? Anybody
have a preference out of those two?

If people travel during the week of the 4th,
why don't we make it July 15th. We'll follow with the
same schedule. And we'll be in touch with you all.

MR. WATTS: Judge, my birthday's on the

17th, so we'll have a three day FEMA party.

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THE COURT: Friday, the 15th, will be the
next conference, with committees at 8:30 and conference
with the bigger group at 10.

Let's go ahead into the other room, and
we'll present the joint report.

MR. MEUNIER: Actually, one thing is a
plaintiff issue, but thank you for reminding me of it.

We drafted an order, it's not finalized
yet -- but just to give the Court a heads-up -- which is
going to ask for an amendment to the submission of
common expense to allow there to be a catch-up date, as
we did once before. We'll find out that Bajoie Bennett
had fallen behind and we need a catch-up date.

Bajoie Bennett has asked that we change what
I've already drafted to provide for quarterly instead of
I guess monthly submissions to them. They're finding it
burdensome to have to process. So I'll just give a
heads-up, we'll be submitting an order. I don't think
it's a defendant issue.

THE COURT: It doesn't sound like it
involves the defendants.

But the key to saving us a lot of trouble
later is to do it frequently now. So, if he wants to do
it quarterly, that's fine. But it really depends on you

all getting the information to them timely.

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(9:51 a.m., Proceedings Concluded.)

CERTIFICATE

I, Susan A. Zielie, Official Court Reporter, do

hereby certify that the foregoing transcript is correct.

/S/ SUSAN A. ZIELIE, RPR, FCRR

Susan A. Zielie, RPR, FCRR

